Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 1 of 11 PageID #: 242




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------   X
 LUIS ALBERTO, on behalf of himself, FLSA                      :
 Collective Plaintiffs and the Class,                          :
                                                               :
                                                               :   MEMORANDUM DECISION
                                       Plaintiff,              :   AND ORDER
                                                               :
                        - against -                            :   18-cv-4762 (BMC)
                                                               :
 RICO POLLO #2 RESTAURANT CORP. d/b/a/                         :
 RICO POLLO, ABC CORP. d/b/a RICO                              :
 POLLO, JUAN F. PUNTIEL, CLEMENTE DE                           :
 LA CRUZ, and JOHN DOE #1-10,                                  :
                                                               :
                                       Defendants.
 -----------------------------------------------------------   X

COGAN, District Judge.

         Plaintiff brings this action under the Fair Labor Standards Act (“FLSA”) and the New

York Labor Law (“NYLL”), seeking to represent both a collective and a class of similarly

situated employees. Plaintiffs have moved for conditional certification of a putative collective

under § 216(b) of the FLSA. Plaintiffs’ motion is substantially granted for the reasons set forth

below.

                                               BACKGROUND

         There are two restaurants named as defendants in this suit, both operating under the name

“Rico Pollo,” but owned by separate defendant corporations, and, according to defendants, each

corporation is wholly owned by one of the two individual defendants. Plaintiff was a delivery

person for one of the restaurants, the Queens restaurant, from about May 1, 2016 until about May

7, 2018. The other restaurant is in Brooklyn.
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 2 of 11 PageID #: 243



       In his affidavit in support of his motion, plaintiff states that he worked for 10.5 hours per

day, six days a week, for a total of 63 hours. He was paid a fixed salary of $360 in cash weekly,

regardless of hours worked. In addition to delivering orders to customers, plaintiff prepared food,

cleaned the restaurant, washed dishes, and did some janitorial or porter-like tasks. He describes

these tasks as “non-tipped” work – in contrast to his delivery work – and estimates that the non-

tipped work was more than 20% of his typical workday. He never received any advice as to how

tips he received would factor into his compensation, and he never received any wage statements

or notices about wages and hours.

       Like most FLSA motions for a collective, this one depends primarily on averments in

plaintiff’s affidavit describing his view of how defendants operated the restaurants and how

defendants treated other employees. Those statements are as follows:

   x   Throughout my employment with Defendants, I regularly observed and spoke
       with my coworkers about our wages and work. Such co-workers include, but are
       not limited to:


        Name              Position            Location              Pay Method
        Domingo           Porter              Queens                Fixed salary
        Jorge             Delivery            Queens                Fixed salary
        Rei               Chef                Both Locations        Fixed salary
        Sofirio           Delivery            Both Locations        Fixed salary
        Rony              Delivery            Both Locations        Fixed salary

   x   After receiving our pay check each Monday, my co-workers (including those
       listed above) and I would complaint [sic] to each other at work about how we
       were paid. Domingo and Jorge told me that they were paid fixed salary regardless
       of how many hours they worked. We were afraid to complaint [sic] to managers
       because we do not want to lose our jobs. I spoke to other delivery people
       (including those listed above) and they told me that all of them were paid the
       same $360 fixed salary per week, and were not paid proper overtime
       compensation for hours worked in excess of forty (40) hours per week.

   x   Defendants frequently transferred employees from the other location to fill in. I
       heard Rei who was transferred from the Fulton location said [sic] that he was paid
       fixed salary for all hours worked. Sofirio and Rony also worked at the Fulton


                                                 2
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 3 of 11 PageID #: 244



       location and told me that the employees there were paid at a fixed salary for all
       hours worked. … Defendants maintained centralized human resources and a
       single payroll system for all employees at all locations.
   x   Based on my personal observation and conversation with other employees, other
       employees at Defendants' Rico Pollo Restaurants (including, but not limited to
       individuals listed [above]) worked the same or similar hours that regularly
       exceeded 40 hours per week.
   x   Based on my personal observations and conversations with co-workers, other
       non-managerial employees at Defendants' Rico Pollo Restaurants (including, but
       not limited to [the] individuals listed [above]) were also not paid overtime
       compensation for hours worked in excess of forty (40) hours per week.
   x   Based on my observations and conversations with other tipped employees,
       including but not limited to those listed [above], tipped employees similarly spent
       at least twenty percent (20%) of their workdays performing such non-tipped
       activities.
   x   Based on my personal observations and conversations with other employees,
       including but not limited to those listed [above], no employee employed by
       Defendants at the Rico Pollo Restaurants ever received written wage and hour
       notice[s].
   x   Based on my personal observations and conversations with other employees,
       including but not limited to those listed [above], no employee employed by
       Defendants at the Rico Pollo Restaurants ever received wage statement[s].

       The individual defendants, Clemente De La Cruz and Juan F. Puntiel, have submitted

their own affidavits. They explain that although they were originally partners in the Queens

restaurant, Mr. De La Cruz bought out Mr. Puntiel in 2012, leaving Mr. De La Cruz as the sole

owner. Mr. Puntiel then opened the Brooklyn restaurant shortly thereafter as the sole owner.

They disavow any involvement in the operations of their co-defendant's restaurant, and profess

to have sole responsibility for operating each respective restaurant and its payroll practices.

They also assert that the other employees that plaintiff names never worked for the Brooklyn

restaurant, and deny sharing employees except for Sofirio (see chart above), who handled

deliveries for the Brooklyn restaurant during renovations of the Queens restaurant over a four-

month period.




                                                  3
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 4 of 11 PageID #: 245



                                          DISCUSSION

I.     Legal Framework

       Section 216(b) of the FLSA creates a private right of action for employees to recover

unpaid minimum wage and overtime compensation on behalf of themselves and similarly

situated employees. Similarly situated employees must opt into the collective action by filing

their written consent with the Court before they may proceed as plaintiffs. See 29 U.S.C. §

216(b). Thus, district courts have discretion to facilitate a notice process by which potential

plaintiffs are informed of the pendency of an FLSA action that they might join to adjudicate their

rights. See Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 169 (1989).

       Consistent with this discretion to facilitate notice, courts in the Second Circuit conduct a

two-step process to determine whether to certify a collective action under the FLSA. See Myers

v. Hertz Corp., 624 F.3d 537, 555 (2d Cir. 2010). “The first step involves the court making an

initial determination to send notice to potential opt-in plaintiffs who may be similarly situated to

the named plaintiffs with respect to whether a FLSA violation has occurred.” Id. (internal

quotation marks and citations omitted). This step requires plaintiffs to “make a modest factual

showing that they and potential opt-in plaintiffs together were victims of a common policy or

plan that violated the law.” Id. (internal quotation marks and citations omitted). “[T]he focus of

the inquiry is not on whether there has been an actual violation of law but rather on whether the

proposed plaintiffs are similarly situated under 29 U.S.C. § 216(b) with respect to their

allegations that the law has been violated.” Romero v. La Revise Assocs., L.L.C., 968 F. Supp.

2d 639, 645 (S.D.N.Y. 2013) (internal quotations marks and citations omitted).

       “At the second stage, the district court will, on a fuller record, determine whether a so-

called collective action may go forward by determining whether the plaintiffs who have opted in




                                                 4
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 5 of 11 PageID #: 246



are in fact similarly situated to the named plaintiffs.” Myers, 624 F.3d at 555 (internal quotation

marks and citations omitted). “The action may be de-certified if the record reveals that they are

not, and the opt-in plaintiffs’ claims may be dismissed without prejudice.” Id. (internal quotation

marks and citations omitted).

       Plaintiffs’ motion concerns only the first step of this process. “The sole consequence of

conditional certification is the sending of court-approved written notice to employees, who in

turn become parties to a collective action only by filing written consent with the court.” Puglisi

v. TD Bank, N.A., 998 F. Supp. 2d 95, 99 (E.D.N.Y. 2014).

II.    Collective Action

       Labeling the averments in plaintiff’s affidavit as “conclusory,” defendants’ repetitive

briefing offers what distills into two reasons for not recognizing a collective action here,

specifically, that plaintiff has not shown that (1) employees at either restaurant were subject to a

common illegal practice in paying their wages or that (2) the employees at the Brooklyn

restaurant were paid under the same policy as the Queens restaurant. I disagree.

       It is true that some of plaintiff’s allegations are conclusory, e.g., “Defendants maintained

centralized human resources and a single payroll system for all employees at all locations.” I

don’t see how plaintiff knows that. If he is drawing an inference from his conversations with

other employees, then there is an insufficient description of those conversations to support such

an inference. If the inference is supportable by other observations that plaintiff has made, one

wonders why those observations are not in his affidavit. For example, what does he know about

the “payroll system” in a business in which he and his colleagues were all paid in cash? (Indeed,

one wonders whether there even was a “payroll system.”) Is there some single person to whom

he or his colleagues have spoken about problems they encountered at both restaurants, so as to



                                                  5
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 6 of 11 PageID #: 247



support his conclusion that the two restaurants have a common and “centralized human

resources” system?

        In addition, a court has to be skeptical when the affidavit of a wage laborer like plaintiff

throws around terms that were plainly chosen by the plaintiff’s lawyer. I don’t think most

kitchen and delivery workers regularly use terms like “centralized human resources.” Imagine a

conversation between a new delivery person and an experienced one: “hey, Joe, I only work at

the Queens restaurant, why did the boss tell me to talk to someone at the Brooklyn Restaurant

about changing my shift?” “Oh, that’s because the two restaurants maintain centralized human

resources.” I doubt it.

        But despite a sprinkling of these kind of lawyer-composed conclusory assertions, there is

sufficient detail in plaintiff’s affidavit to warrant a collective. If we are going to allow hearsay

on these motions – and the dominant view in this Circuit is that we do, see e.g., Ramos v. Platt,

No. 13-cv-8957, 2014 WL 3639194, at *2 (S.D.N.Y. July 23, 2014) – then plaintiff has relayed

enough of it to make the modest showing that the law requires. Specifically, he has spoken to at

least five other workers, whose first names he has provided, and all of whom say they were paid

a fixed wage just like him. Those workers have three different job titles, so plaintiff’s experience

is applicable to some titles other than delivery person (at least, as discussed below, others within

the three titles he has identified).

        As to the ability to treat the two restaurants as one for purposes of this first step, what is

most significant is that three of the five workers have worked at both restaurants. I reject

defendants' effort to dispute plaintiff’s averments by claiming that it was only one worker who

overlapped for a short time and for an unusual reason. First, the modest showing required for a

collective means that at step one, the court should credit the plaintiff’s averments rather than


                                                   6
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 7 of 11 PageID #: 248



resolve factual disputes between the parties. Second, if defendants are going to submit affidavits

in opposing a first step motion, which they didn’t have to do, they should submit affidavits that,

unlike those here, answer more questions than they leave unanswered.

       Defendants’ affidavits do not deny, for example, that delivery people, chefs and porters

were all paid a fixed wage in cash at both restaurants, but merely allege that each paid its

employees “according to the pay practice” at each restaurant – whatever that was or those were.

Similarly, although defendants criticize plaintiff’s affidavit as “conclusory,” the two individual

defendants' identically-worded averments that “I am not involved in the operations of” the other

restaurant do not explain how it came about that Sofirio was loaned by one restaurant to the

other, which they admit, even if it was for only two occasions. The only suggestion that might

support some inference is the equally conclusory statement that Mr. Puntiel (regularly? we are

not told) visits Mr. De La Cruz’s business because they are “friends.” But friends do not share

employees; that’s business.

       The only valid point that defendants raise is that plaintiff’s proposed collective of “non-

management” employees is too vague. There are cases too numerous to cite, including in the

restaurant context, as to which employees constitute “management.” See e.g., Elghourab v.

Vista JFK, LLC, No. 17-cv-911, 2018 WL 6182491 (E.D.N.Y. Nov. 27, 2018); Scott v. Chipotle

Mexican Grill, Inc., No. 12-cv-8333, 2017 WL 1287512 (S.D.N.Y. Mar. 29, 2017); Karropoulos

v. Soup du Jour, Ltd., 128 F.Supp.3d 518 (E.D.N.Y. 2015). The Court is not going to lay the

groundwork for later litigation over which employees should receive notice and which should

not. Since, despite his conversations with fellow employees, plaintiff can only identify delivery




                                                 7
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 8 of 11 PageID #: 249



persons, chefs, and porters as similarly situated employees, the notice will be limited to those

positions.1

III.     Applicable Period and Equitable Tolling

         The statute of limitations for potential plaintiffs’ FLSA claims in this case is three years

if the conduct was willful and two years if it was not. See 29 U.S.C. § 255(a). Defendants

complain that plaintiff has failed to sufficiently allege willfulness. I again disagree. Plaintiffs do

not have to prove willfulness at this stage, and if the payments in fixed amounts of cash on a

weekly basis without credit for overtime are in fact reflective of a policy and practice of

defendants, it is hard to imagine a lack of willfulness. We are not dealing with some obscure

provision of labor law; every business owner knows or clearly ought to know of the obligation to

pay overtime for more than 40 hours’ work.

         Plaintiffs have also asked the Court to equitably toll the statute of limitations until notice

is sent to the members of the collective. “In a FLSA collective action, the statute of limitations

runs for each plaintiff until he files written consent with the court to join the lawsuit.” Yahraes

v. Rest. Assocs. Events Corp., No. 10-CV-935, 2011 WL 844963, at *1 (E.D.N.Y. Mar. 8, 2011).

The statute of limitations is not tolled upon the filing of the complaint, as it is in a class action,

and opt-in plaintiffs’ consent forms do not relate back to the filing of the complaint. As a result,

“[i]f the limitations period is not [] tolled, opt-in plaintiffs would not be able to make claims for

any period prior to three years from the date they actually file a consent to join the action.”

Contrera v. Langer, 278 F. Supp. 3d 702, 722-23 (S.D.N.Y. 2017) (citing 29 U.S.C. § 256(b));

Yahraes, 2011 WL 844963, at *1.



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  Because of the substantial expense for an employer in seeking to de-certify a collective at stage 2, this Court
rigorously enforces the requirements of Federal Rule of Civil Procedure 11 against a plaintiff’s counsel if it becomes
apparent through discovery that there was no good-faith basis for seeking a collective action at stage 1.


                                                          8
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 9 of 11 PageID #: 250



       However, “[f]ederal courts should grant equitable tolling sparingly, and only in rare and

exceptional circumstances.” Id. at *1 (internal quotation marks, alterations, and citations

omitted). “When determining whether equitable tolling is applicable, a district court must

consider whether the person seeking application of the equitable tolling doctrine (1) ‘has acted

with reasonable diligence during the time period she seeks to have tolled,’ and (2) has proved

that the circumstances are so extraordinary that the doctrine should apply.” Zerilli-Edelglass v.

New York City Transit Auth., 333 F.3d 74, 80–81 (2d Cir. 2003) (citing Chapman v. ChoiceCare

Long Island Term Disability Plan, 288 F.3d 506, 512 (2d Cir. 2002)).

       Courts in this Circuit have denied requests for equitable tolling where plaintiffs rely only

on defendants’ failure to notify plaintiffs of their rights, “as it would provide for equitable tolling

whenever a defendant violated FLSA and NYLL by failing to post notices or provide statements

of hours and wages.” Shu Qin Xu v. Wai Mei Ho, 111 F. Supp. 3d 274, 279 (E.D.N.Y. 2015);

see also Amendola v. Bristol-Myers Squibb Co., 558 F. Supp. 2d 459, 480 (S.D.N.Y. 2008) (“To

hold that ‘a failure to disclose that an employee is entitled to overtime pay is sufficient to work

an equitable toll would be tantamount to holding that the statute is tolled in all or substantially all

cases seeking unpaid overtime.’”) (quoting Patraker v. Council on the Env’t of New York City,

No. 02 Civ. 7282, 2003 WL 22703522, at *2 (S.D.N.Y. Nov. 17, 2003)). But other courts have

found that the fact that “equitable tolling issues often arise in other FLSA actions is sufficient to

send notice to the larger group.” Knox v. John Varvatos Enterprises Inc., 282 F. Supp. 3d 644,

661 (S.D.N.Y. 2017) (internal quotation marks omitted) (collecting and rejecting cases that have

allowed equitable tolling).

       As did the court in Knox, this Court disagrees with those decisions that effectively

eliminate the requirement of extraordinary or unique circumstances giving rise to potential for




                                                   9
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 10 of 11 PageID #: 251



equitable tolling in FLSA cases. The Second Circuit has made clear that equitable tolling is

reserved for “rare” circumstances, and to disregard that instruction here would create “a rule that

simply assumes that equitable tolling will be routinely available in all FLSA cases.” Id.

        Although articulated in an entirely different legal context, the Supreme Court has

instructed that equitable tolling is not a “cure-all for an entirely common state of affairs.”

Wallace v. Kato, 549 U.S. 384, 396 (2007). If Congress wanted to toll the statute of limitations

for opt-in plaintiffs under the FLSA as a means of avoiding the very scenario that plaintiff argues

warrants equitable tolling here, Congress would have included such a provision in the statute. It

did not, and plaintiff has not shown why their case is any different from a regular, run-of-the-mill

FLSA collective action.

        Plaintiffs’ motion for equitable tolling of the statute of limitations is denied.

IV.     Notice of Attorneys’ Fees

        Defendants request that if the sending of notice is approved, plaintiff’s proposed notice

must be amended to state the terms of plaintiff’s proposed arrangement with any opt-in members

of the class, as was ordered in Fasnelli v. Heartland Brewery, 516 F. Supp. 2d 317, 324

(S.D.N.Y. 2007).

        A modest adjustment of plaintiff’s proposed notice is warranted. The current proposed

notice states that the case is being handled “on a ‘contingency fee’ basis, which means that you

do not have to pay attorneys’ fee or expenses for this lawsuit.” I know that construction is

routinely used to solicit personal injury claims, but I think it is somewhat misleading. Of course

an opt-in plaintiff, like the named plaintiff, will, in fact, pay attorneys’ fees if the case is

successful – it may be deducted from the plaintiff’s recovery. In addition, costs may be

advanced by the attorney, and repayment may be contingent on the outcome of the case. See



                                                   10
Case 1:18-cv-04762-BMC Document 41 Filed 12/25/18 Page 11 of 11 PageID #: 252



Ghodooshim v. Qiao Xing Mobile Communication Co., Ltd., No. 12-cv-9264, 2013 WL

2314267, at *2 (S.D.N.Y. May 21, 2013). Thus, if the case is unsuccessful, the plaintiff may

bear those costs, unless he lacks the funds for the attorney to obtain reimbursement.

                                           CONCLUSION

        Plaintiff’s motion for conditional certification is granted except to the extent that it seeks

to provide notice to “non-management employees.” The notice shall be sent to employees who

are delivery persons, porters, or chefs, including employees whose responsibilities include any of

those tasks. In addition, within ten days, the parties are directed to agree on a revision of

plaintiff’s proposed notice to clarify how a contingent fee arrangement would work should any

opt-in plaintiff choose to retain plaintiff’s counsel.

SO ORDERED.
                                              Digitally signed by Brian
                                              M.  Cogan
                                              ______________________________________
                                                                  U.S.D.J.

Dated: Brooklyn, New York
       December 26, 2018




                                                  11
